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ROANNE L. MANN                                DATE: July 15, 2021
UNITED STATES MAGISTRATE JUDGE                START: 2:00 p.m.
                                              END:    4:30 p.m.


DOCKET NO:          20-cv-4678 (FB)
CASE Weiss v. The Sukkah Company, LLC et al.


G INITIAL CONFERENCE                                G   OTHER/CHEEKS HEARING
G DISCOVERY CONFERENCE                              G   FINAL/PRETRIAL CONFERENCE
X SETTLEMENT CONFERENCE                             X   TELEPHONE CONFERENCE
G MOTION HEARING                                    G   INFANT COMPROMISE HEARING

PLAINTIFFS
                                                                 ATTORNEY
                                                 Lauren Valli, Brett Lewis, plaintiff also present


DEFENDANTS
                                                                   ATTORNEY
                                                 Ben D. Manevitz, Lewis Kaplan also present

G   FACT DISCOVERY TO BE COMPLETED BY
G   SETTLEMENT CONFERENCE SCHEDULED FOR
G    JOINT PRE-TRIAL ORDER TO BE FILED VIA ECF BY ____________________
G    PL. TO SERVE DEF. BY:__________ DEF. TO SERVE PL. BY:____________

RULINGS:      PLEASE TYPE THE FOLLOWING ON DOCKET SHEET

Settlement discussions held. Each party is directed to respond to the Court's settlement
recommendation, via email, by 5:00 p.m. on Monday, July 19, 2021.
